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Case 2:10-mj-02613-DL"‘J»`|.'1>( Document 1 Filed 10/21/1_0 P`ag)§ 1 of 1 Page |D #:1

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UNITED STATES DISTRICT COURT. …… .M... _.._.1~»~~..»~..~...‘:..
CENTRAL DISTRICT OF CALIFORNIA
UNlTED sTATEs oF AMERICA CASE NUMBER
PLA!NTIFF(s) f bci orlng 3 M
v.
" 1 . f AFFIDAVIT RE
v é;}`W/‘“j?/\ wm W";\’\ W\ DEFENDANT(S)_ oUT-oF-DISTRICT wARRANT

The above-named defendant Was charged by: ""F'l"`?_\'_'/ \M{ UH/h,(l/') ltv
in the éziml~l/\Pm District of N\/ on ` 9/'7'0_// 0
at I:l a. m. / |:| p. .The offense was allegedly committed on or V(abolzg
in violation of Title l U. S ..C ,Section(s)l \ gng l’) q al

to wit:

 

A warrant for defendant’s arrest was issued by: H`€"lf>¢ %l’VVl/"l "1 l/C` /4/1§¢)1§€)`/#¢(`/; wj,e
Bond of $ was l:l set / |:l recommended
Type of Bond:

Relevant document(s) on hand (attach):

 

1
I swear that the or oing is true and correct to the best of my knowledge.

 

 

 

 

 

 

 

 

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, Deputy Clerk.
'/7 /ZVW"` j?>§% CM
Signatur Agent l Print Name oigAgent
919 1 - v , §¢@111/§1_%~
Agency` Title y d v

 

CR-52 (05/98) AFFlDAVlT RE OUT-OF-DISTRlCT WARRANT

